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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

      v.                                                22-CR-74-LJV-JJM
 KYLE LEWIS,                                            DECISION & ORDER

            Defendant.
___________________________________


       1.     On December 7, 2023, the defendant, Kyle Lewis, pleaded guilty to Count

1 of the Superseding Information charging a violation of Title 21, United States Code,

Section 846 (conspiracy to possess with intent to distribute, and to distribute, heroin and

fentanyl). Docket Item 287.

       2.     On December 7, 2023, the Honorable Jeremiah J. McCarthy, United

States Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 289.

       3.     This Court did not receive objections to the Report & Recommendation in

accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object expired.

       4.     The Court then carefully reviewed de novo Judge McCarthy’s

Report & Recommendation (Docket Item 289), the plea agreement (Docket Item 287),

the Superseding Information (Docket Item 286), a transcript of the plea proceeding

(Docket Item 300), and the applicable law. Based on that review, this Court conducted

a subsequent plea colloquy on February 22, 2024. See Docket Item 309.
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         5.    With the addition of this Court’s subsequent plea colloquy, the Court

adopts Judge McCarthy’s recommendation that the defendant’s plea of guilty be

accepted and that the defendant be adjudged guilty of Count 1 of the Superseding

Information.

         IT IS HEREBY ORDERED that this Court adopts Judge McCarthy’s December 7,

2023 Report & Recommendation, Docket Item 289, in its entirety, including the

authorities cited and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Kyle Lewis, is now adjudged guilty of Count 1 of the Superseding

Information under Title 21, United States Code, Section 846.



         SO ORDERED.

Dated:         February 26, 2024
               Buffalo, New York




                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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